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                                                                                         iN CLERK'S OFFICE:
  UNITED STATES DISTRICT COURT                                                     U.S. DISTRICT COURT E.D.N Y
  EASTERN DISTRICT OF NEW YORK
                                                                                   * MAR 2 7 2013 *
                                                                                   BROOKLYN OFFICE:
  UNITED STATES OF AMERICA                                      07-CR-874

                 -against-                                      Statement of Reasons Pursuant to
                                                                18 U.S.C. § 3553(c)(2) for
  OSCAR RAY,                                                    Resentencing

                         Defendant.
                                                                                   /
  JACK B. WEINSTEIN, Senior United States District Judge:

         A sentencing court shall "state in open court the reasons for its imposition of the

  particular sentence." 18 U.S.C. § 3553(c). If the sentence is not of the kind prescribed by, or is

  outside the range of, the sentencing guidelines referred to in section 3553(a)(4), the court shall

  indicate the specific reasons for imposing a sentence different from the guidelines. 18 U.S.C.

  § 3553(c)(2). These "reasons must also be stated with specificity in the written order of

  judgment and commitment." !d. Even though the mandatory nature of the guidelines has been

  excised and they are now "advisory," see United States v. Booker, 543 U.S. 220, 245-46 (2005),

  the sentencing court must still adhere to the requirements of 18 U.S.C. § 3553(c)(2). United

  States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

         The sentencing court's written statement of reasons shall be "a simple, fact-specific

  statement explaining why the guidelines range did not account for a specific factor or factors

  under§ 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006). Such a

  statement should demonstrate that the court "considered the parties' arguments and that it has a

  reasoned basis for exercising its own legal decisionmaking authority." United States v. Cavera,

  550 F.3d 180, 193 (2d Cir. 2008) (quoting Rita v. United States, 551 U.S. 338,356 (2007))

  (internal quotations and alterations omitted).

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         On September 21, 2010, Oscar Ray pled guilty to a single-count superseding information

  which charged that between August 8, 2007 and November 15, 2007, the defendant, together

  with others, conspired to distribute and possess with the intent to distribute fifty grams or more

  of crack-cocaine base into the United States in violation of21 U.S.C §§ 841(a)(1) and

  841(b)(1)(A) (2007).

         Ray was originally sentenced on May 23, 2011. At that time, his conduct was subject to

  the mandatory-minimum sentences for offenses involving crack cocaine that were then-

  applicable. See Anti-Drug Abuse Act of 1986, Pub L. No. 99-570, § 1002, 100 Stat. 3207

  (1986). A crime involving fifty grams or more of crack-cocaine being at issue, the ten year

  mandatory minimum sentence was imposed, along with five years' supervised release. See

  Statement of Reasons as to Oscar Ray, June 16, 2011, ECF No. 575. While a $100 special

  assessment was imposed, no fines were imposed because the defendant did not have any assets,

  and it was deemed unlikely that he would have any in the future to pay a fine. Id. The

  underlying information was dismissed by the court. Id.

         Congress subsequently amended the mandatory minimum sentence for crimes involving

  crack cocaine in the Fair Sentencing Act of2010 ("FSA"). See Fair Sentencing Act of2010,

  Pub. L. No. 111-220, § 2, 124 Stat. 2372 (Aug. 3, 2010). Under the FSA, a five-year mandatory

  minimum sentence is imposed for offenses involving twenty-eight grams of crack cocaine, and a

  ten-year sentence for offenses involving 280 grams of crack cocaine. !d. Those "new, lower

  mandatory minimums ... apply to the post-[FSA] sentencing ofpre-[FSA] offenders." Dorsey

  v. United States, 132 S. Ct. 2321, 2335 (2010). Having been sentenced after enactment ofthe

  FSA, Ray can avail himself of the FSA's "more lenient penalties." Id. at 2331.




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         With the consent of defendant, the government moved on July 19, 2012 before the Court

  of Appeals for the Second Circuit to vacate Ray's sentence and remand the case for resentencing

  consistent with the FSA. See Motion For Remand For Resentencing, United States v. Armstrong,

  Nos. 11-2849 (L), 11-5241 (CON)(2d Cir. July 19, 2012). By a Mandate issued on November

  28, 2012, the government's motion was granted and the case remanded for de novo resentencing.

  See Mandate, Nov. 28,2012, ECF No. 681.

         A resentencing hearing was held on March 6, 2013. The proceeding was videotaped in

  order to develop an accurate record of the courtroom atmosphere and the factors and

  considerations that a district court must evaluate in imposing a sentence under 18 U.S.C.

  § 3553(a). See In reSentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004) (utility of videotape

  on appeal).

         The court finds the total adjusted offense level to be twenty seven and the defendant's

  criminal history category to be category II, yielding a guidelines range of imprisonment of

  between 78 and 97 months. See United States Sentencing Guidelines§ 2D1.1(c)(6). A two

  point upward adjustment under the guidelines is necessary because the defendant possessed a

  firearm in connection with the offense. A minimum term of imprisonment of five years is

  required. 21 U.S.C. § 841(b). The offense carries with it a maximum term of imprisonment of

  forty years. Id. The guidelines range of fine is from $25,000 to $5,000,000 with a statutory

  maximum of$5,000,000. 21 U.S.C. § 841(b).

         Ray was resentenced to a seventy two months imprisonment and five years supervised

  release. A special assessment of $1 00 was imposed. No fines were imposed because the

  defendant does not, and will not in the future, have assets to pay a fine.




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         Respectful consideration was given to the sentencing guidelines, the Sentencing

  Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to attempt

  to ensure that the sentence is "sufficient, but not greater than necessary, to comply with the

  purposes" of sentencing. 18 U.S.C. § 3553(a). The court imposed a non-guideline sentence

  under 18 U.S.C. § 3553(a) and Booker.

         The court considered the "nature and circumstances of the offense and the history and

  characteristics ofthe defendant." See 18 U.S.C. § 3553(a)(1). Ray was arrested and convicted

  of attempted criminal sale of crack cocaine in the third degree at the age of twenty five. He was

  also arrested for assault at the same age, but that case was sealed and presumably dismissed.

         Ray was involved in the instant conspiracy as a street-level drug seller with no

  managerial role. He possessed a handgun in furtherance of his drug activity. Although there is

  no evidence that he fired the weapon, the use of a gun in a housing project-filled with innocent

  bystanders-is extremely dangerous, regardless of its use with or independent of a drug crime.

  See Tr. ofCrim. Cause for Resentencing Hr'g, Mar. 6, 2013, at 19-20 ("THE COURT: ... he

  used that handgun in selling drugs. [DEFENDANT'S COUNSEL]: Well, that I agree with ...

  .").
         Consideration of gun possession in imposing a prison term is not double-counting even

  though a two point upward adjustment was utilized for having a gun in connection with the

  offense. Seep. 3, supra. The defendant was not sentenced under the guidelines, but pursuant to

  section 3553 and under Booker.

         Ray was raised by a single mother; he has spoken to his father only sparingly. With only

  a tenth-grade education, he has not held legal employment for much of his life and has worked in

  the illegal drug business since he was fifteen for the money it offers. The defendant is married


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  and has two children who currently reside with his wife, who works as an administrative

  supervisor at a private bus company. Ray shares close relationships with his siblings and wife.

  He expresses hope that, upon his release from prison, he can "start [his] life over, get a job, [and]

  take care of [his] kids." Jd. at 14. He is remorseful for his actions. Jd.

         Under section 3553(a)(2)(B), there are two major considerations: specific and general

  deterrence. General deterrence is satisfied with the sentence imposed. The sentence will send a

  clear message that possession of dangerous and illegal firearms will result in extra prison time.

  Specific deterrence is achieved through incapacitation. Ray's family support and responsibilities

  should contribute to his avoiding future criminal activity.




                                                          ack B. Weinstein
                                                         Senior United States District Judge

  Dated: March 19, 2013
         Brooklyn, New York




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